          Case 1:18-cv-10199-GAO Document 14 Filed 04/30/18 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


BRIAN ROBINSON, Derivatively on Behalf of
OCULAR THERAPEUTIX, INC.

                               Plaintiff,

                 v.                                           Case No. 1:18-cv-10199-GAO

AMARPREET SAWHNEY, CHARLES WARDEN,                            ORAL ARGUMENT
RICHARD L. LINDSTROM, JASWINDER                               REQUESTED
CHADHA, BRUCE A. PEACOCK, JEFFREY S.
HEIER, W. JAMES O’SHEA, ERIC ANKERUD,
JAMES GARVEY, GEORGE MIGAUSKY,
and W. BRADFORD SMITH

                               Defendants,

                 -and-

OCULAR THERAPEUTIX, INC., a Delaware
corporation,

                               Nominal Defendant.


 DEFENDANTS’ MOTION TO DISMISS OR STAY THE DERIVATIVE COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(1) and the Court’s authority to decline

to exercise jurisdiction over federal litigation when parallel, earlier-filed litigation is proceeding

in state court, defendants hereby move to dismiss or stay plaintiff’s stockholder derivative

complaint (the “Complaint”).

       The grounds for this motion, which are explained in detail in the accompanying

Memorandum of Law and the Declaration of Peter J. Kolovos, filed contemporaneously, include

the following:
            Case 1:18-cv-10199-GAO Document 14 Filed 04/30/18 Page 2 of 4




       1.       Plaintiff’s Complaint is duplicative of earlier-filed and now-consolidated

derivative cases that the defendants are litigating actively in the Business Litigation Session of

the Suffolk County Superior Court. In re Ocular Therapeutix, Inc. Deriv. Litig., Civ. Action No.

17-3425 BLS (Mass. Sup. Ct. Suffolk Cnty.) (the “Superior Court Action”). Therefore, the

Court should dismiss or stay plaintiff’s Complaint under the prior pending action doctrine.

       2.       Plaintiff’s case is also parallel to the Superior Court Action and the balance of

factors from Colorado River favors abstention; thus, the Court should dismiss or stay plaintiff’s

Complaint based on the Colorado River abstention doctrine. See Colorado River Water

Conservation District v. United States, 424 U.S. 800 (1976).

       WHEREFORE, for these reasons and the reasons set forth in the accompanying

Memorandum of Law and contemporaneously-filed Declaration, the defendants respectfully

request that the Court:

       1.       Enter an order dismissing or staying all claims against the defendants;

       2.       Award the defendants their reasonable attorneys’ fees and expenses; and

       3.       Award any other relief that is fair and just.


                             REQUEST FOR ORAL ARGUMENT

       The defendants respectfully request an oral argument pursuant to Local Rule 7.1(d). The

defendants make this request because they believe that oral argument may assist the Court’s

consideration of this Motion and they would appreciate the opportunity for counsel to address

any issues raised by, or questions posed by, the Court.




                                                  2
         Case 1:18-cv-10199-GAO Document 14 Filed 04/30/18 Page 3 of 4




                                    Respectfully Submitted,


Dated: April 30, 2018               /s/ Peter J. Kolovos
                                    Michael G. Bongiorno (BBO #558748)
                                    Peter J. Kolovos (BBO #632984)
                                    Wilmer Cutler Pickering Hale and Dorr LLP
                                    60 State Street
                                    Boston, MA 02109
                                    Tel: (617) 526-6000
                                    Fax: (617) 526-5000
                                    michael.bongiorno@wilmerhale.com
                                    peter.kolovos@wilmerhale.com

                                    Joseph J. Yu (pro hac vice)
                                    Jenny R. A. Pelaez (pro hac vice)
                                    Wilmer Cutler Pickering Hale and Dorr LLP
                                    7 World Trade Center
                                    250 Greenwich Street
                                    New York, NY 10007
                                    Tel: (212) 937-7518
                                    Fax: (212) 230-8888
                                    joseph.yu@wilmerhale.com
                                    jenny.pelaez@wilmerhale.com

                                    Counsel for Nominal Defendant Ocular
                                    Therapeutix, Inc., and Defendants Amarpreet
                                    Sawhney, Charles Warden, Richard L. Lindstrom,
                                    Jaswinder Chadha, Bruce A. Peacock, Jeffrey S.
                                    Heier, W. James O’Shea, Erik Ankerud, James
                                    Garvey, George Migausky, and W. Bradford Smith




                                      3
         Case 1:18-cv-10199-GAO Document 14 Filed 04/30/18 Page 4 of 4




                           LOCAL RULE 7.1(A)(2) CERTIFICATE

       I hereby certify that I have conferred with counsel for the plaintiff, who did not assent to

the relief sought in this Motion.

                                                     /s/ Peter J. Kolovos
                                                     Peter J. Kolovos



                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on the participants of the ECF

system in the above-captioned matter on April 30, 2018.

Dated: April 30, 2018

                                                     /s/ Peter J. Kolovos
                                                     Peter J. Kolovos




                                                 4
